Case 1:20-cv-06539-JMF Document 117 Filed 10/16/20 Page 1 of 3
           Case 1:20-cv-06539-JMF Document 117 Filed 10/16/20 Page 2 of 3
Mayer Brown LLP


    Hon. Jesse M. Furman
    October 16, 2020
    Page 2

   from a third person any benefit in discharge of the debt or lien, is under no duty to make restitution
   thereof . . . if the transferee . . . did not have notice of the transferor’s mistake.” (emphasis added)).

           Defendants nonetheless contend that nonparty lender communications are material for two
   reasons. First, they say that this evidence “will reveal whether the lenders and managers initiated
   outreach to Citibank to report the receipt of a ‘mistaken’ transfer . . . upon receipt of the funds . . .
   or instead whether they were contacted first by Citibank.” Def. Mot. at 2. Defendants do not
   explain why it matters whether lenders identified the mistake “upon receipt of the funds.” The
   viability of their discharge-for-value defense turns on whether defendants themselves had notice
   of the mistake before discharging the debt. See In re Calumet Farm, Inc., 398 F.3d 555, 560 (6th
   Cir. 2005) (“[T]he discharge-for-value defense will apply unless the beneficiary receives notice of
   a mistake before the beneficiary of the transfer credits the debtor’s account.”). To the extent that
   the views of the market generally are relevant at all, the Court has allowed defendants to present
   expert testimony on constructive notice.

           Defendants argue next that the nonparty communications are relevant because they
   “suspect that Citibank applied pressure on [other] lenders that returned funds.” Def. Mot. at 2
   (emphasis added). However, contemporaneous communications of non-party lenders are simply
   irrelevant. And again, Citibank’s communications with other lenders has no bearing on whether
   the defendants had notice of the mistake.

            Furthermore, defendants’ motion should be denied as moot as it relates to requests for
   documents that Citibank has already produced. In the request for production identified in
   defendants’ motion, they sought “[c]ommunications between Citibank and any current or former
   lenders under the 2016 Credit Agreement regarding the return of funds transferred by Citibank.”
   Dkt. 109-2 at 10. On September 3, 2020, Citibank responded that this request was “not relevant to
   the extent it call[ed] for documents related to Citibank’s post-transfer recovery efforts” (id.), a
   position that aligns with this Court’s discovery rulings. See Dkt. 46 (“Citibank’s post-transfer
   recovery efforts are unlikely to be relevant to the issues in dispute (except insofar as they include
   communications that are relevant to whether the wire transfers were a mistake).”). Nevertheless,
   on September 4, 2020—a day after Citibank sent its responses—Citibank told defense counsel:
   “In the interest of compromise, we will agree to produce responsive non-privileged information
   . . . in response to [Request for Production] . . . 10. We are not conceding that this material is
   relevant.” Ex. B. As of October 1, 2020, Citibank has produced all documents responsive to this
   request, to the extent they hit on the search terms and custodians that were agreed upon by the
   parties. See, e.g., Ex. C. But on October 13, without warning, defendants filed this motion. The
   premise of their motion—that “Citibank refused to produce responsive documents” (Def. Mot. at
   3)—is demonstrably false.

           It is telling, however, that defendants now consider the nonparty lenders to be so central to
   their case. They began this litigation with the theory that no defendant had reason to believe that
   the August 11 transfers were anything other than deliberate principal payments on the Revlon debt.
   That theory has been refuted by discovery. Defendants’ own testimony and contemporaneous
   communications show that their employees not only were aware of the mistake, but internally
           Case 1:20-cv-06539-JMF Document 117 Filed 10/16/20 Page 3 of 3
Mayer Brown LLP


    Hon. Jesse M. Furman
    October 16, 2020
    Page 3

   ridiculed Citibank’s employees for making it and ordered their trustees and custodians to ignore
   Citibank’s notices of the mistake and requests for return of the funds. Indeed, several defendants
   expressly concluded that the Citibank payment was mistaken, and instructed trustees to return the
   funds, but stopped payment at the direction of Quinn Emanuel. See Ex. A. Given the discovery to
   date—which demonstrates that the defendants had both constructive and actual notice of the
   mistake, and never discharged the Revlon debt at all—it is no wonder that they have chosen to
   look for evidence elsewhere.

          Because Citibank has already produced documents sought in defendants’ motion to
   compel, and because preparing another Rule 30(b)(6) witness would be burdensome and the
   testimony irrelevant, we respectfully submit that the Court should deny the motion.



                                                       Respectfully submitted,

                                                       /s/ Christopher J. Houpt
                                                       Christopher J. Houpt
